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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION


    OSSIE SCOTT RHODES AND                            CIVIL ACTION NO.
    EUGENE EMMANUEL WALLACE,                          5:13-CV-02110-DEW-KLH
    INDIVIDUALLY AND ON BEHALF OF
    THEIR MOTHER, FANNIE SCOTT
    (DECEASED)
                    Plaintiffs
                     v.
                                                      JUDGE DONALD E. WALTER
    CORNERSTONE HOSPITAL OF
                                                      MAG. JUDGE KAREN L. HAYES
    BOSSIER CITY, LLC
                            Defendant



         DEFENDANT CORNERSTONE HOSPITAL OF BOSSIER CITY, LLC’S
              MOTION FOR SUMMARY JUDGMENT ON LIBAILITY


           NOW INTO COURT, through undersigned counsel, comes Defendant,

    Cornerstone Hospital of Bossier City, LLC (“Cornerstone”), who files this this Motion

    for Summary Judgment under Federal Rule of Civil Procedure 56, as there is no genuine

    issue of material fact and Defendant is entitled to judgment as a matter of law.

    Cornerstone attaches a supporting memorandum setting forth the basis of this motion:

    Plaintiffs lack the necessary expert medical testimony to support their claims of liability

    against Cornerstone.

           WHEREFORE, Defendant prays that this motion be granted and that this matter

    be dismissed with prejudice and at Plaintiffs’ costs.


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                                             Respectfully submitted,




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                                                   Hospital of Bossier City, LLC


                               CERTIFICATE OF SERVICE

           I hereby certify that, on January 13, 2013, a copy of the foregoing pleading has
    been electronically filed using the CM/ECF system, which will provide notice to all
    counsel of record.


                                               ____________________________________
                                               Paul G. Preston




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